                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS

 KARL GRAULICH, Individually and on                )
 Behalf of All Others Similarly Situated,          )
                                                   )
                        Plaintiff,                 )
                                                   )
        v.                                         )
                                                   )   Civil Action No. ___________
 WILLBROS GROUP INC., S. MILLER                    )
 WILLIAMS, MICHAEL J. FOURNIER,                    )   COMPLAINT FOR VIOLATION OF THE
 DANIEL E. LONERGAN, MICHAEL C.                    )   SECURITIES EXCHANGE ACT OF 1934
                                                   )
 LEBENS, PHIL D. WEDEMEYER, and W.
 GARY GATES,                                       )   JURY TRIAL DEMANDED
                                                   )
                        Defendants.                )
                                                   )



       Plaintiff Karl Graulich (“Plaintiff”), by and through his attorneys, alleges the following on

information and belief, except as to the allegations specifically pertaining to Plaintiff, which are

based on personal knowledge.

                                     NATURE OF THE ACTION

       1.      This action stems from a proposed transaction (the “Proposed Transaction” or

“Merger”) announced on March 28, 2018, pursuant to which Willbros Group Inc. (“Willbros” or

the “Company”) will be acquired by Primoris Services Corporation (“Primoris”) through its

wholly owned subsidiary, Waco Acquisition Vehicle, Inc. (“Merger Sub”).

       2.      On March 28, 2018, the Company’s Board of Directors (the “Board” or the

“Individual Defendants”) caused the Company to enter into an Agreement and Plan of Merger (the

“Merger Agreement”) with Merger Sub. Pursuant to the terms of the Merger Agreement, Merger

Sub will purchase each issued and outstanding share of Willbros common stock for $0.60 in cash

(the “Merger Consideration”), for a total preliminary equity value of approximately $37.5 million,
or a total enterprise value of $107.6 million. Upon completion of the Merger, Merger Sub will

merge with and into Willbros, with Willbros surviving the merger as a wholly owned subsidiary

of Primoris.

       3.      On April 11, 2018, Defendants (as defined below) filed a preliminary Proxy

Statement on Schedule 14A with the United States Securities and Exchange Commission (“SEC”)

in connection with the Proposed Transaction (the “Proxy”). As described herein, the Proxy omits

certain material information with respect to the Proposed Transaction, which renders it false and

misleading, in violation of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. 140.14a-9 (“Rule

14a-9”) promulgated thereunder.

       4.      Plaintiff seeks to enjoin Defendants from taking any steps to consummate the

Proposed Transaction or, in the event the Proposed Transaction is consummated, to recover

damages resulting from Defendants’ wrongdoing described herein.

                                 JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

       6.      This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains operations

within, this District, or is an individual who is either present in this District for jurisdictional

purposes or has sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.




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         7.    Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                            PARTIES

         8.    Plaintiff is, and has been at all times relevant hereto, the owner of Willbros common

stock.

         9.    Defendant Willbros is a Delaware corporation, with its principal executive offices

located in Houston, Texas. Willbros common stock is listed on the Over-The-Counter (“OTC”)

under the symbol “WGRP.”

         10.   Defendant S. Miller Williams (“Williams”) has served as a member of the

Company’s Board since May 2004, and was appointed non-executive Chairman effective

December 1, 2015.

         11.   Defendant Michael J. Fournier (“Fournier”) was elected President and Chief

Executive Officer and appointed to serve on the Board in December 2015.

         12.   Defendant Daniel E. Lonergan (“Lonergan”) has served as a Board member since

July 2010.

         13.   Defendant Michael C. Lebens (“Lebens”) has served as a Board member since May

2011.

         14.   Defendant Phil D. Wedemeyer (“Wedemeyer”) has served as a Board member

since April 2015.

         15.   Defendant W. Gary Gates (“Gates”) has served as a Board member since February

2017.

         16.   The defendants listed in ¶¶ 10-15 are collectively referred to herein as the

“Individual Defendants.”




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       17.     The Individual Defendants and Willbros are referred to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

       18.     According to the Company’s Form 10-K for the year ended December 31, 2017,

Willbros “is a specialty energy infrastructure contractor serving the power and oil and gas

industries with offerings that primarily include construction, maintenance and facilities

development services.” The Company has three segments: Utility, Transmission and Distribution

(“UT&D”); Canada; and Oil & Gas. UT&D segment provides “a wide range of services in electric

and natural gas transmission and distribution (“T&D”), including comprehensive engineering,

procurement, maintenance and construction, repair and restoration of utility infrastructure.” As to

the Canadian segment, the Company “is an industry leader in construction, maintenance and

fabrication.” The Oil & Gas segment provides “construction, maintenance and lifecycle extension

services to the midstream markets.”

       19.     On March 28, 2018, Willbros issued a press release announcing that it has entered

into a definitive agreement to be acquired by Primoris for $0.60 per share for all of the outstanding

common stock of the Company. Accordingly, the Proposed Transaction’s preliminary equity

value is approximately $37.9 million and the enterprise value is approximately $107.6 million.

The press release further stated the following:

       Under the terms of the all-cash agreement, Primoris will pay $0.60 per share
       for all of the outstanding common stock of the Company, settle the existing
       debt obligations of the Company, and provide up to $20 million in bridge
       financing to support the Company’s working capital liquidity needs through
       the closing date. The transaction has been unanimously approved by the
       Boards of Directors of both companies, is not subject to a financing condition,
       and is anticipated to close during the second quarter of 2018, subject to
       Company stockholder approval and certain other closing conditions.

       Michael Fournier, President and CEO, commented, “Primoris has a strong
       North American presence, and its diversified offerings complement our
       existing businesses. Many of our existing customers are familiar with Primoris


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       and its various operating companies. We believe the broad, national presence
       of Primoris will allow us additional opportunities for growth. We anticipate
       that our businesses will benefit from the stability provided by Primoris’ solid
       balance sheet and access to capital.

       In the near term, our focus is on meeting our clients’ expectations, working
       safely, and providing the quality of service they have come to depend on from
       the Company. We see significant synergies and opportunities when the
       Company joins Primoris after the anticipated closing of this transaction.”

       In connection with the execution of the definitive agreement, certain of the
       Company’s directors and stockholders, representing approximately 17% of
       the Company’s outstanding shares, entered into voting agreements with
       Primoris in which they have agreed, among other things, to vote in favor of the
       transaction.

       20.     As stated in the press release, Primoris was able to get approximately 17% of

Willbros stockholders to enter into voting agreements to vote in favor of the Proposed Transaction.

Specifically, (i) certain affiliates of Kohlberg Kravis Roberts & Co. L.P., and (ii) certain directors

and officers of Willbros entered into separate voting agreements with Primoris (“Supporting

Stockholders”). Pursuant to the voting agreements, the Supporting Stockholders, representing

approximately 17% of the total voting power of Willbros, will vote in favor of the Merger.

       21.     The offer price of $0.60 per share in cash is significantly below the Company’s 52-

week high stock price of $3.29 per share, and the 52-week median stock price of $2.04 per share.

Also, the offer price is below the Company’s book value of $1.36 per share. In addition, the offer

price is below an analyst target price of $1.00 per share for Willbros.

       22.     On March 28, 2018, the Company filed a Form 8-K with the SEC detailing the

Proposed Transaction, and included the Merger Agreement dated March 27, 2018. According to

the Merger Agreement, if the Proposed Transaction is terminated under certain circumstances,

Willbros shall pay Primoris a non-refundable termination fee in the amount of $4,300,000 in cash.




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The termination fee represents 11.3% of the preliminary equity value which is significantly above

the norm and might have a chilling effect on other potential bidders.

       23.     In soliciting shareholder approval for the Proposed Transaction, the Company filed

the Proxy on April 11, 2018, which purports to contain a summary/overview of the Proposed

Transaction, but omits certain critical information, rendering portions of the Proxy materially

incomplete and/or misleading, in violation of the Exchange Act provisions discussed herein. As a

result, Willbros shareholders lack material information necessary to allow them to make an

informed decision concerning whether to vote in favor of the Merger.

       24.     In particular, the Proxy contains materially incomplete and/or misleading

information concerning, inter alia: the financial analyses performed by the Company’s financial

advisor, Greenhill & Co., LLC (“Greenhill”), in support of its fairness opinion. As part of

Greenhill’s fairness opinion, Greenhill reviewed, among other things, “certain information,

including financial forecasts for the year ended December 31, 2018.” Proxy at 44.

       25.     The Proxy states that in rendering its fairness opinion, Greenhill performed a

Selected Comparable Company Analysis by looking at selected companies and by dividing them

into two subsets, five peers in the utility transmission & distribution sector business and five peers

in the oil & gas services business. For this analysis, the Proxy notes that Greenhill “reviewed the

ratio of enterprise value” “plus the book value of debt, plus minority interest, less cash and cash

equivalents, less investments in unconsolidated affiliates, as a multiple of earnings from operations

before interest expense, income taxes and depreciation and amortization” for 2017 and 2018.

Proxy at 46-47. As part of the Selected Comparable Company Analysis, “Greenhill applied such

ranges of multiples to the corresponding financial information for the Company, and, as a result,

arrived at high and low implied Share prices for the Company.” Proxy at 47. Interestingly, one




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of the four implied valuation ranges, EV/2018E Pro Forma Adjusted EBITDA was $0.89 per share

to $1.81 per share which is significantly above the $0.60 per share offer price. The Proxy fails to

disclose the multiples for each of the ten selected companies including the actual 2017 equity

value/earnings before interest, taxes, depreciation and amortization (“2017A EV/EBITDA”) and

the estimated 2018 equity value/earnings before interest, taxes, depreciation and amortization

(“2018E EV/EBITDA”).

       26.     Disclosure concerning the Precedent Transactions Analysis portion of Greenhill’s

fairness opinion fares no better. For this analysis, Greenhill “compared selected transactions since

2013 in the utility and transmission and distribution sector (“UT&D Precedent Transactions”) and

the oil and gas services sector (“Oil & Gas Precedent Transactions”).” Proxy at 48. As part of the

Precedent Transactions Analysis, Greenhill identified eight transactions in the UT&D sector and

eleven transactions in the Oil & Gas sector. In respect to EV/EBITDA, the Proxy notes that

Greenhill “reviewed the total transaction value for each of the Precedent Transactions and analyzed

the EV implied by such total transaction value as a multiple of last 12-month EBITDA (for the 12-

month period to the fiscal quarter in which the applicable transaction was announced).” Proxy at

48.

       27.     However, the Proxy fails to disclose the multiples for each of the nineteen selected

precedent transactions including the equity value/earnings before interest, taxes, depreciation and

amortization (“EV/EBITDA”) multiple for each of the precedent transaction. The multiples for

each of the nineteen selected precedent transactions would be material to Willbros shareholders in

deciding how to vote their shares. As previously noted, the real value of Greenhill’s work is not

in its conclusion, but in the valuation analyses that underpin that result. It is those analyses that

are crucial for shareholders evaluating the merits of the Merger. Without such information, it is




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difficult for Willbros shareholders to evaluate if the precedent transactions are comparable to this

Proposed Transaction which has an equity value of $37.5 million, or an enterprise value of $107.6

million.

       28.     The Proxy also omits any information concerning a discounted cash flow (DCF”)

analysis. Specifically, the Proxy fails to disclose whether a DCF analysis was even done by

Greenhill in connection with its fairness opinion in respect to this Proposed Transaction. If a DCF

analysis was not performed in connection with this Proposed Transaction, the Proxy should

disclose affirmatively that a DCF analysis was not performed and an explanation as to why it was

not done.

       29.     While the Proxy discloses that the Company’s financial “projections were not

prepared with a view to compliance with generally accepted accounting principles” (“GAAP”),

and the projections included “certain non-GAAP financial measures,” the Proxy fails to disclose

if there was any reconciliation of GAAP and non-GAAP figures and what that reconciliation was.

Proxy at 50.

       30.     The non-disclosed information discussed above, would be material to Willbros

shareholders in deciding how to vote their shares, as the real informative value of the financial

advisor’s work is not in its conclusion, but in the valuation analyses that buttress that result. When

a financial advisor’s endorsement of the fairness of a transaction is touted to shareholders, the

valuation methods used to arrive at that opinion, as well as the key multiples and range of multiples

used in those analyses, must also be fairly disclosed.

       31.     Further, the non-disclosed information discussed above prevents shareholders from

understanding the context of the figures or consider whether any of the inputs thereto or ranges




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derived therefrom are anomalous. Absent this information, Willbros shareholders are unable to

determine whether the Proposed Transaction is indeed fair and in their best interest.

       32.       Without the foregoing material disclosures, Willbros shareholders are unable to

fully understand and interpret Greenhill’s financial analyses or the fairness of the Merger

Consideration when determining whether to vote in favor of the Proposed Transaction.

       33.       There are also material omissions in the Proxy concerning the process leading up

to the Merger.

       34.       For example, as part of the background and chronology of events that led to the

Proposed Transaction, on November 27, 2017, the Board and the Company’s financial advisor,

Greenhill discussed two potential strategic alternatives: “a stand-alone recapitalization of its

existing debt structure or a potential sale transaction.” Proxy at 25. During the Board meeting,

there were discussions involving the Company having “received inbound inquiries from two

privately-held infrastructure construction companies (Party A and B) in September 2017 and

October 2017 indicating their interest in pursuing a potential transaction.” Id. As a result, the

Board instructed “Greenhill to pursue recapitalization and sale process and also to further explore

a potential transaction with Party A or Party B,” and also, authorized “Greenhill to conduct a broad

search of both strategic and financial buyers” to see if a transaction that would be the best for the

Company and its stockholders can be achieved. Id.

       35.       Following the November 27, 2017 Board meeting, at the direction of the Board,

Greenhill “initiated exploratory discussions with approximately 57 potential acquirers and stand-

alone recapitalization investors, including 15 strategic parties and 42 financial parties.” Id.

Greenhill also “contacted eight potential ABL lenders.” Id. Out of the 65 potential acquirers,

stand-alone recapitalization investors, and ABL lenders, 23 potential acquirers and the eight




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potential ABL lenders signed non-disclosure agreements (“NDAs”). Party A and Party B both

signed NDAs. However, the Proxy fails to disclose the material terms of the NDAs as it is relevant

to shareholders to know whether certain potential acquirers received different terms in their

respective NDAs. Without the terms of the NDAs disclosed, it is difficult for shareholders to

determine whether parties to these agreements were provided with the same right to submit

confidential proposals following news of a definitive merger agreement, or whether these NDAs

contained standstill provisions, and if so, whether the standstill provisions had don’t-ask-don’t-

waive (“DADW”) provisions1 and/or sunset provisions, or whether the counterparties could seek

a waiver of such standstills to make an unsolicited offer to acquire the Company.

        36.     If these NDAs entered into by certain potential acquirers contained standstill

provisions, these parties are likely prohibited from coming forward with a topping bid if waivers

do not exist in the NDAs.

        37.     The omission of the details regarding these NDAs in the Proxy renders it materially

misleading because it gives the false impression that the counterparties who had entered into

negotiations with the Company prior to its signing of the Merger Agreement have the ability to

come forward with a topping bid, when they may, in fact, be contractually prohibited from doing

so. Thus, the omission of this information renders all references to the NDAs in the Proxy

materially false and misleading.

        38.     Also, while the Proxy discloses that “19 potential acquirers performed due

diligence,” it fails to disclose how many out of the 19 potential acquirers were strategic parties and



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  A DADW provision prohibits potential acquirors from even asking the target to waive the standstill
prohibitions to allow them to submit topping bids. Several courts have noted that DADW provisions violate
a target board’s duty to act reasonably, in an informed matter, and in furtherance of the goal of seeking the
highest possible sales price, and therefore have ordered injunctive relief when a danger existed that such
clauses prevented superior bids from arising.


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how many were financial parties. Id. Further, the Proxy fails to disclose whether any of the eight

potential ABL lenders performed due diligence.

       39.     In the beginning of December 2017, the Company’s management and Greenhill

participated in several discussions and exchanged information with Party A where “Party A

submitted an initial non-binding indication of interest, in which it proposed an all-stock merger

between Willbros and Party A through which the stockholders of Willbros would own 20% of the

combined company.” Proxy at 26. Willbros would continue as a publicly traded company.

Around the same time, the Company’s management held an introductory meeting with Party B

where “Party B outlined its proposal for a potential all-stock merger transaction in which Willbros’

stockholders would own 33.8% of the combined company.” Id. Similar to Party B’s proposal,

Willbros would continue as a publicly traded company.

       40.     Also, in the beginning of December 2017, Greenhill provided its first weekly

update to Fournier. The Proxy simply states that the updated report by Greenhill included

Greenhill’s contacts with potential buyers and capital providers and potential ABL lenders, but the

Proxy fails to disclose whether these contacts were brand new potential buyers and capital

providers and potential ABL lenders or they were part of the 65 original potential acquirers as

previously discussed in the Proxy.

       41.     On December 4, 2017, Greenhill contacted Primoris “to explore Primoris’ interest

in a potential acquisition of Willbros.” Proxy at 26. The Proxy states that on December 4, 2017,

Primoris signed an NDA, but again the Proxy fails to disclose the terms of the NDA with respect

to Primoris. Significantly, the Proxy fails to disclose whether the NDA entered into by Primoris

is the same NDA entered into by other potential acquirers including Party A and Party B. Thus, it




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is unclear whether Primoris received certain and/or additional rights in its NDA, not given to other

potential acquirers that signed their respective NDAs.

       42.     Significantly, the Proxy also fails to disclose whether the Board, the Company’s

management and/or Greenhill had previously contacted Primoris to discuss a potential transaction

to purchase Willbros. Also, the Proxy fails to disclose whether Primoris was one of the original

57 potential acquirers.

       43.     After Greenhill presented Primoris with preliminary materials and held initial

discussions with the senior management team of Primoris, including its President and CEO for

over ten days, on December 28, 2017, Primoris “submitted a proposal to acquire Willbros in a

merger transaction for an enterprise value of between $120.0 million and $145.0 million in cash,”

with an addition of a stock component as consideration if Willbros “deemed that preferable.”

Proxy at 26.

       44.     On January 10, 2018, the Company’s management and Greenhill had discussions

with Party A’s management, including its President and CEO. Two days later, Fournier met with

Party C and other potential financial sponsors. Party C was “a private equity firm specializing in

buyouts, corporate carve outs and turnarounds.” Proxy at 27. During the same week, the Proxy

discloses that Party A, Party B, Primoris and other parties were provided access to the Company’s

virtual data room. However, the Proxy fails to disclose the names of the “other parties” that

received access to the data room. The Proxy fails to disclose whether Party C received access to

the Company’s virtual data room. Id.

       45.     Without the foregoing material information, the Company’s shareholders will not

be able to fully understand and interpret the financial analyses, including their impact on the




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fairness of the Merger Consideration, when determining whether to vote in favor of the Proposed

Transaction.

                               CLASS ACTION ALLEGATIONS

       46.      Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P. 23 on behalf

of himself and the other public shareholders of Willbros (the “Class”). Excluded from the Class

are Defendants herein and any person, firm, trust, corporation, or other entity related to or affiliated

with any of the Defendants.

       47.      This action is properly maintainable as a class action for the following reasons:

                a.     The Class is so numerous that joinder of all members is impracticable. As

of March 26, 2018, there were 63,221,610 shares of Willbros common stock outstanding, held by

hundreds, if not thousands, of individuals and entities scattered throughout the country.

                b.     Questions of law and fact are common to the Class, including, among

others: (i) whether Defendants have violated Sections 14(a) and 20(a) of the Exchange Act in

connection with the Proposed Transaction; and (ii) whether Plaintiff and the Class would be

irreparably harmed if the Proposed Transaction is consummated as currently contemplated and

pursuant to the Proxy as currently composed.

                c.     Plaintiff is an adequate representative of the Class, has retained competent

counsel experienced in litigation of this nature, and will fairly and adequately protect the interests

of the Class.

                d.     Plaintiff’s claims are typical of the claims of the other members of the Class

and Plaintiff does not have any interests adverse to the Class.

                e.     The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to individual members of




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the Class which would establish incompatible standards of conduct for the party opposing the

Class.

                f.       A class action is superior to other available methods for fairly and

efficiently adjudicating this controversy.

                g.       Defendants have acted, or refused to act, on grounds generally applicable to

the Class as a whole, and are causing injury to the entire Class. Therefore, preliminary and final

injunctive relief on behalf of the Class as a whole is entirely appropriate.

                                       CAUSES OF ACTION

                                              COUNT I

                     Claim for Violation of Section 14(a) of the Exchange Act
                            and Rule 14a-9 Promulgated Thereunder
                                    (Against All Defendants)

          48.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          49.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person . . . to

solicit or to permit the use of his name to solicit any proxy or consent or authorization in respect

of any security (other than an exempted security) registered pursuant to section 78l of this title.”

15 U.S.C. § 78n(a)(1).

          50.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that solicitation communications with shareholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9(a).

          51.   Rule 14a-9 further provides that, “[t]he fact that a proxy statement, form of proxy




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or other soliciting material has been filed with or examined by the Commission shall not be deemed

a finding by the Commission that such material is accurate or complete or not false or misleading,

or that the Commission has passed upon the merits of or approved any statement contained therein

or any matter to be acted upon by security holders. No representation contrary to the foregoing

shall be made.” 17 C.F.R. § 240.14a-9(b).

       52.     As discussed herein, the Proxy misrepresents and/or omits material facts

concerning the Merger.

       53.     Defendants prepared, reviewed, filed and disseminated the false and misleading

Proxy to Willbros shareholders. In doing so, Defendants knew or recklessly disregarded that the

Proxy failed to disclose material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading.

       54.     The omissions and incomplete and misleading statements in the Proxy are material

in that a reasonable shareholder would consider them important in deciding how to vote their

shares. In addition, a reasonable investor would view such information as altering the “total mix”

of information made available to shareholders.

       55.     By virtue of their positions within the Company and/or roles in the process and in

the preparation of the Proxy, Defendants were undoubtedly aware of this information and had

previously reviewed it, including participating in the Merger negotiation and sales process and

reviewing Greenhill’s complete financial analyses purportedly summarized in the Proxy.

       56.     The Individual Defendants undoubtedly reviewed and relied upon the omitted

information identified above in connection with their decision to approve and recommend the

Merger.

       57.     Willbros is deemed negligent as a result of the Individual Defendants’ negligence




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in preparing and reviewing the Proxy.

          58.   Defendants knew that Plaintiff and the other members of the Class would rely upon

the Proxy in determining whether to vote in favor of the Merger.

          59.   As a direct and proximate result of Defendants’ unlawful course of conduct in

violation of Section 14(a) of the Exchange Act and Rule 14d-9, absent injunctive relief from the

Court, Plaintiff and the other members of the Class will suffer irreparable injury by being denied

the opportunity to make an informed decision as to whether to vote in favor of the Merger.

          60.   Plaintiff and the Class have no adequate remedy at law.

                                             COUNT II

                   Claim for Violations of Section 20(a) of the Exchange Act
                             (Against the Individual Defendants)

          61.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          62.   The Individual Defendants acted as controlling persons of Willbros within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Willbros, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy filed with the

SEC, they had the power to influence and control and did influence and control, directly or

indirectly, the decision-making of the Company, including the content and dissemination of the

various statements which Plaintiff contends are false and misleading.

          63.   Each of the Individual Defendants were provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.



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       64.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

alleged herein, and exercised the same. The Proxy contains the unanimous recommendation of

each of the Individual Defendants to approve the Merger. They were thus directly connected with

and involved in the making of the Proxy.

       65.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the Exchange

Act and Rule 14d-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons and the acts described herein, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act.

       66.     As a direct and proximate result of Individual Defendants’ conduct, Plaintiff will

be irreparably harmed.

       67.     Plaintiff and the Class have no adequate remedy at law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Ordering that this action may be maintained as a class action and certifying Plaintiff

as the Class Representative and Plaintiff’s counsel as Class Counsel;

       B.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       C.      Directing the Individual Defendants to disseminate an Amendment to its Schedule

14A that does not contain any untrue statements of material fact and that states all material facts

required in it or necessary to make the statements contained therein not misleading;




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       D.      Directing Defendants to account to Plaintiff and the Class for their damages

sustained because of the wrongs complained of herein;

       E.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: April 24, 2018

                                                Respectfully submitted,



                                                   Jeffrey W. Chambers

                                                WOLF POPPER LLP
                                                711 Louisiana St. Ste. 2150
                                                Houston, Texas 77002
                                                Tel: 713-438-5244
                                                Fax: 212-486-2093
                                                jeffchambers@chambers-law-group.com

                                                Attorneys for Plaintiff

OF COUNSEL:

WOLF POPPER LLP
Carl L. Stine
Fei-Lu Qian
845 Third Avenue
New York, New York 10022
Tel.: 212-759-4600
Fax: 212-486-2093
Email: cstine@wolfpopper.com
        fqian@wolfpopper.com




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